






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00565-CV






Jack Wesley Moncrief, Appellant


v.


Betty Moncrief, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 201ST JUDICIAL DISTRICT

NO. FM5-05032, HONORABLE RHONDA HURLEY, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



	Appellant Jack Wesley Moncrief has informed this Court that he no longer wishes
to pursue his appeal and has filed an unopposed motion to dismiss.  Appellant's counsel states that
he has conferred with counsel for appellee Betty Moncrief, who does not oppose this motion.  We
grant the motion and dismiss the appeal.  Tex. R. App. P. 42.1(a).



					__________________________________________

					Jeff Rose, Justice

Before Justices Puryear, Pemberton and Rose

Dismissed on Appellant's Motion

Filed:   January 11, 2013


